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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

Phoeno Wine Company, Inc., et al.,                         Case No. 23-10554 (KBO)

                         Debtors.


                        MOTION AND ORDER FOR ADMISSION PRO HAC VICE
         Pursuant to Local Rule 9010-1 and the below certification, counsel moves for the admission pro hac
 vice of Eric D. Goldberg of DLA Piper LLP (US), to represent TriplePoint Private Venture Credit, Inc., in the
 above-captioned chapter 7 cases.

 Dated: June 27, 2023                              DLA PIPER LLP (US)
        Wilmington, Delaware
                                                    /s/ Kaitlin W. MacKenzie
                                                   Kaitlin W. MacKenzie (DE 5924)
                                                   1201 North Market Street, Suite 2100
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 468-5700
                                                   Email: kaitlin.mackenzie@us.dlapiper.com

                                                   Counsel to the TriplePoint Private Venture Credit, Inc.

                  CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
          Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
 practicing and in good standing as a member of the Bar of the State of California and submit to the disciplinary
 jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I
 also certify that I am generally familiar with this Court’s Local Rules and with Standing Order for District Court
 Fund revised 8/31/16. I further certify that the annual fee of $25.00 has been paid to the Clerk of Court for
 District Court.

 Dated: June 27, 2023                                       DLA PIPER LLP (US)

                                                             /s/ Eric D. Goldberg
                                                            Eric D. Goldberg, Esq. (CA 157544)
                                                            2000 Avenue of the Americas
                                                            Suite 400 North Tower
                                                            Los Angeles, California 90067
                                                            Telephone: (310) 595-3000
                                                            Email: eric.goldberg@us.dlapiper.com

                                      ORDER GRANTING MOTION
             IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.



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